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                                    U.S. Department of Justice
                                    United States Attorney
                                    Northern District of Georgia

                                   600 Richard B Russell Bldg.   Telephone: (404) 581-6083
                                   75 Ted Turner Dr., S.W.,      Fax: (404) 581-6181
                                   Atlanta, Georgia 30303



                                         August 2, 2022

 Courtroom Deputy
 United States Courthouse
 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303

        Re:    Leave of Absence

 Dear Courtroom Deputies:

     This letter is to notify the Court pursuant to Local Criminal Rule
 57.1E(4), NDGA, as attorney of record in the above matters, I submit a
 notice of leave of absence that I will be out of the office on the following
 dates:
          September 19, 2022 to September 23, 2022


    I respectfully request that the Court not schedule any court
 appearances in the above-referenced matter for those dates.

                                         Sincerely,

                                         RYAN K . BUCHANAN
                                             United States Attorney



                                           / S / MICHAEL S. QIN
                                         Assistant United States Attorney

 cc: Counsel for Defendants (via ECF)
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       CASE LIST FOR MICHAEL S. QIN

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   U.S. v. Nereo Valencia Santos et al, 1:21-CR-00103
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   U.S. v. Raud-Constantino, 1:18-CR-00203-1
   U.S. v. Abraham Galindo, 1:21-CR-00003
